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SOUTHERN DISTRICT OF NEW YORI<'°'

 

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(full name of the plaintiff or petitioner applying (each person l ' v- ' ~ '
must submit a separate application))

-agaiIIS'C- (Provlde docket number, if available; if filing this with
your complaint, you will not yet have a docket number.)

 

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(fu|l name(s) of.the defendant(s)/respondent(s))

APPLICATION TO PROCEED WITHOUT PREPAYING FEES OR COSTS

l am a plaintiff/ petitioner in this case and declare thatl am unable to pay the costs of these proceedings
and I believe that I am entitled to the relief requested in this action In support of this application to
proceed in forma pauperis (IFP) (without prepaymg fees or costs), I declare that the responses below are
true: `

1. Are you incarcerated? ‘ l:l Yes lB/No (lf ”No," go to Question 2.)
l am being held at:

 

Do you receive any payment from this institution? l:l Yes l:l No

Monthly amount
If I arn a prisoner, see 28 U.S.C. § 1915(}\), l have attached to this document a ”Prisoner Authorization"
directing the facility Where I am incarcerated to deduct the filing fee from my account' in installments
and to send to the Court certified copies of my account statements for the past six months See 28

U. S C § 1915(a) (2) (b). I understand that this means that I Will be required to pay the full filing fee.

 

2. Are you presently employed? l:l Yes l:El/No

If ”yes,” my employer’ s name and address are:

Gross monthly pay or Wages:

If ”no,” What Was your last date of employment? 212»% l 'Z.O \%

 

Gross monthly Wages at the time: $ (a OO o"'g~

3. In addition to your income stated above (Which you should not repeat here), have you or anyone else
living at the same residence as you received more than $200 in the past 12 months from any of the
following sources'? Checl< all that apply.

(a) Business, profession, or other self-employment [E/Yes y l:l No
(b) Rent payments, interest, or dividends Yes E/No

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(c) Pension, annuity, or life insurance payments l:l Yes MNO

(d) Disability or Worl<er’s compensation payments v [:] Yes No

(e) Gifts or inheritances [:l Yes E/No

(f) Any other public benefits (unemployment, social security, [J Yes [:! NO
food stamps, veteran s, etc_.) by ,&

1,j(g) Any other sources t § § :; IE/ Yes l:] No

If`you answered ”Yes” to any question above, describe below or on separate pages each source of

money and state the amount that you received and what you expect to receive in the future.

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lf you answered ”No” to all of the questions above, explain how you are paying your expenses:

4. How much money do you have in cash or in a checl<ing, savings, or inmate account?

$%oo

5.' Do you own any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other
financial instrument or thing of value, including any item of v'alue held in someone else's name? If so,
describe the property and its approximate value: `

No

6. Do you have any housing, transportation, utilities, or loan payments, or other regular monthly
expenses? lf so, describe and provide the amount of the monthly expense:

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y u or suppor , your re a ons p wi ea person, an ow
much you contribute to their support (only provide initials for minors under 18):

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8. Do you have any debts or financial obligations not described above? lf so, describe the amounts owed
and to whom they are payable: '

 

No

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Dated Signaf‘ure\/

Name (Last, First, Mi) Prison identification # (if incarcerated)
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Address w ley State Zip Code
W)io)°l%“+ s 230 o

Telephone Number E~mail Address (if availab|e)

 

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